         FIFTH DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                       Case Nos. 5D22-2207
                                 5D23-2673
                   LT Case No. 2015-CA-002958
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MINERVA WIEGOLD as PERSONAL
REPRESENTATIVE of the ESTATE
of DAVID ARTHUR WIEGOLD,
DECEASED, and on behalf of the
STATUTORY SURVIVING SPOUSE,
MINERVA WIEGOLD,

    Appellants,

    v.

ORLANDO HEALTH, INC. D/B/A
SOUTH SEMINOLE HOSPITAL,
JAYANT RANAWAT, M.D.,
ASSOCIATED HEALTH CARE
MANAGEMENT, INC. D/B/A
ASSOCIATED FAMILY MEDICINE
GROUP,

    Appellees.

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On appeal from the Circuit Court for Seminole County.
Michael J. Rudsill, Judge.

Christopher V. Carlyle, The Carlyle Appellate Law Firm, and
Alan J. Landerman, Colling Gilbert Wright, PLLC, Orlando, for
Appellants.
Michael R. D’Lugo, of Wicker Smith O’Hara McCoy &amp; Ford, P.A.,
Orlando, for Appellee, Orlando Health, Inc. d/b/a South Seminole
Hospital.

Dinah S. Stein, Hicks, Porter, Ebenfeld &amp; Stein, P.A., Miami, for
Appellees, Jayant Ranawat, M.D., and Associated Health Care
Management, Inc. d/b/a Associated Family Medicine Group.

                        October 31, 2023


PER CURIAM.

    AFFIRMED.

MAKAR, JAY, and KILBANE, JJ., concur.

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    Not final until disposition of any timely and
    authorized motion under Fla. R. App. P. 9.330 or
    9.331.
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